Case 1:24-cr-00039-MJT          Document 1        Filed 04/30/24     Page 1 of 7 PageID #: 11




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                    §
                                             §
 v.                                          §            No. 1:24-CR 39 - MJT
                                             §
 TPC GROUP LLC                               §
                                             §

                                    INFORMATION


The United States Attorney charges that at all times relevant to this Information:

                                          a. Background

1.    TPC Group LLC (“TPC Group”) was incorporated in Texas, and had a principal office in

      Houston, Texas. In 2019, TPC Group had multiple facilities including one in Port Neches,

      Jefferson County, Texas, referred to as the Port Neches Operations facility (“TPC PNO

      facility”). At that time, the TPC PNO facility produced hydrocarbon derivatives including

      1,3-butadiene (“Butadiene”), which was primarily used to manufacture synthetic rubber

      and resins.

                                        b. The Explosion

2.    On November 27, 2019, an explosion occurred at the South Unit of the TPC PNO facility,

      injuring five individuals. A secondary explosion followed, and a series of fires erupted at

      the facility and emitted contaminants into the air. As a result of the explosions, mandatory

      evacuations were ordered for residents within a four-mile radius from the facility, voluntary

      shelter-in-place orders were issued for residents in the surrounding area, and local schools

      were closed for multiple days to allow buildings to be cleaned, repaired, and inspected.
Case 1:24-cr-00039-MJT         Document 1       Filed 04/30/24      Page 2 of 7 PageID #: 12




                                             c. Law


The Clean Air Act

3.   The Clean Air Act (“CAA”), 42 U.S.C. § 7401 et seq., is the Nation’s comprehensive air

     pollution control statute. One of the purposes of the CAA is “to protect and enhance the

     quality of the Nation’s air resources.” Id. §§ 7401(b)(1), 7470.

Risk Management Program Requirements

4.   In 1990, Congress enacted Section 112(r)(7) of the CAA in response to releases of

     chemicals in the United States and abroad that killed or injured many people. Section

     7412(r)(7) of the CAA directed the Administrator of the Environmental Protection Agency

     (“EPA”) to create reasonable regulations to prevent the release of certain chemicals and to

     minimize the consequences of any releases that occurred. Id. § 7412(r)(7)(B).

5.   In 1996, EPA promulgated a final rule known as the Risk Management Program (“RMP”),

     40 C.F.R. Part 68, which implements Section 112(r)(7) of the CAA. The regulations of the

     RMP are applicable to owners and operators of stationary sources that have more than a

     threshold quantity of a regulated substance in a “process.” 40 C.F.R. § 68.10.

6.   A “process” is “any activity involving a regulated substance including any use, storage,

     manufacturing, handling, or on-site movement of such substances.” Id. § 68.3. A “covered

     process” “means a process that has a regulated substance present in more than a threshold

     quantity as determined under § 68.115.”

7.   Butadiene is a regulated substance for purposes of the RMP and the threshold quantity for

     Butadiene is 10,000 pounds. Id. § 68.130, Table 3.




                                                2
Case 1:24-cr-00039-MJT           Document 1        Filed 04/30/24     Page 3 of 7 PageID #: 13




8.    A stationary source is “any building, structure, facility, or installation which emits or may

      emit any air pollutant.” 42 U.S.C. §§ 7411(a)(3), 7412(a)(3). Butadiene is one such air

      pollutant. Id. § 7412(b)(1).

9.    The RMP regulations are categorized into three levels based on the degree of risk posed by

      the covered process. The TPC PNO facility was subject to the RMP’s strictest level of

      regulation, Program 3, because: (1) the facility was not eligible for coverage under the

      more limited requirements of Program 1 because a worst-case release of regulated

      substances from the facility could affect the public; (2) the facility was engaged in

      petrochemical manufacturing, North American Industry Classification System Code

      (NAICS) 32511; and (3) the facility was subject to the Process Safety Management

      regulations located at 29 C.F.R. § 1910.119 issued by the Occupational Safety and Health

      Administration. 40 C.F.R. § 68.10(g), (i).

10.   Owners and operators subject to the Program 3 regulations must “[d]evelop and implement

      written operating procedures that provide clear instructions for safely conducting activities

      involved in each covered process.” Id. § 68.69(a).

11.   Any person who knowingly violates any requirement of Section 7412(r) of the CAA,

      including requirements of regulations promulgated by the EPA under the authority of

      Section 7412(r), has committed a crime. 42 U.S.C. § 7413(c)(1).

                                      d. Factual Background

12.   Butadiene, a hazardous chemical and extremely flammable liquid and vapor, is used to

      manufacture polymers such as synthetic rubbers, and is used in the production of tires,

      latexes, and plastics. Butadiene is a known human carcinogen and has been shown to cause

      cancer and birth defects in laboratory animals.



                                                   3
Case 1:24-cr-00039-MJT          Document 1        Filed 04/30/24     Page 4 of 7 PageID #: 14




13.   Butadiene can form into a polymer in several ways, including forming a hard and insoluble

      white crystalline polymer known as “popcorn polymer,” which is produced when oxygen

      reacts with Butadiene. Popcorn polymer in an active state can grow at a constantly

      accelerating rate referred to as a “runaway reaction,” which has the potential to cause

      serious or catastrophic events, including explosions and fires. The growth of popcorn

      polymer, which will continue indefinitely unless inhibited, is particularly common in areas

      of process equipment with little or no flow or turbulence, also known as “deadlegs.”

14.   The November 27, 2019, explosion at the TPC PNO facility was caused by the uninhibited

      growth of popcorn polymer in a deadleg. This loss of containment was caused by the

      accumulation and growth of popcorn polymer in a line from one of the facility’s towers to a

      pump after TPC Group removed the pump from service.

15.   The TPC PNO facility had a written operating procedure to address the potential for

      popcorn polymer growth in deadlegs. The procedure required the injection of

      Diethylhydroxylamine (“DEHA”), a popcorn polymer inhibitor, into deadlegs and/or the

      monthly operation of a pump to flush the line. This procedure was entitled “Dead Legs in

      High Purity Butadiene Service.”

16.   TPC Group knowingly failed to implement its own written operating procedure entitled

      “Dead Legs in High Purity Butadiene Service.”

                                     CRIMINAL CHARGE

              Knowing Violation of Requirement to Prevent Accidental Releases

                      [Failure to Implement Written Operating Procedures]

17.   The allegations of Paragraphs 1 through 16 are incorporated by reference as if fully set

      forth herein.



                                                 4
Case 1:24-cr-00039-MJT          Document 1        Filed 04/30/24     Page 5 of 7 PageID #: 15




18.   From in or about September 2019, to on or about November 27, 2019, in the Eastern

      District of Texas and elsewhere, the Defendant,

                                      TPC GROUP LLC,

      as an owner and an operator of a stationary source with more than a threshold quantity of a

      regulated substance in a covered process, did knowingly violate a requirement of a

      regulation promulgated under the Clean Air Act to prevent accidental releases of regulated

      substances, specifically, Title 40, Code of Federal Regulations, Section 68.69(a), by failing

      to implement written operating procedures that provided clear instructions for safely

      conducting activities involved in each covered process, to wit: failure to implement its own

      written procedures requiring the injection of DEHA popcorn polymer inhibitor into the line

      connecting pump S4G7 to tower S4D4 when the pump was removed from service and/or

      the monthly flushing of the pump.

      In violation of 42 U.S.C. §§ 7412(r) and 7413(c)(1), and 18 U.S.C. § 2.


                                                     TODD KIM
                                                     ASSISTANT ATTORNEY GENERAL
                                                     ENVIRONMENT and NATURAL
                                                     RESOURCES DIVISION

                                                     By: Christopher J. Costantini
                                                     CHRISTOPHER J. COSTANTINI
                                                     Senior Trial Attorney
                                                     Pennsylvania Bar No. 64146
                                                     Environmental Crimes Section
                                                     4 Constitution Square
                                                     150 M Street, NE, Suite 4.212
                                                     Washington, DC 20044




                                                 5
Case 1:24-cr-00039-MJT   Document 1   Filed 04/30/24    Page 6 of 7 PageID #: 16




                                          DAMIEN M. DIGGS
                                          UNITED STATES ATTORNEY
                                          EASTERN DISTRICT OF TEXAS



                                          JOSEPH R. BATTE
                                          Assistant United States Attorney
                                          Eastern District of Texas
                                          Texas Bar No. 01918070
                                          550 Fannin, Suite 1250
                                          Beaumont, Texas 77701
                                          (409) 839-2538
                                          (409) 839-2550 (fax)
                                          email: joe.batte@usdoj.gov




                                      6
Case 1:24-cr-00039-MJT      Document 1        Filed 04/30/24     Page 7 of 7 PageID #: 17




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION


UNITED STATES OF AMERICA                     §
                                             §
v.                                           §           No. 1:24-CR 39-MJT
                                             §
                                             §
TPC GROUP LLC                                §



                               NOTICE OF PENALTY


                                       Count One

Violation:                 42 U.S.C. §§ 7412(r) and 7413(c)(1), and 18 U.S.C. § 2


Penalty:                   a term of probation of not more than five years; a fine not to
                           exceed 500,000, or twice any pecuniary gain to the defendant
                           or loss to the victim(s); or both;


Special Assessment:        a mandatory special assessment of $400.00, which must be
                           paid by cashier's check or money order to the United States
                           District Clerk before sentencing
